249 F.2d 315
    V. W. LILLARD, d/b/a Cape Girardeau Television Company, Petitioner,v.UNITED STATES of America and Federal Communications Commission.
    No. 15766.
    United States Court of Appeals Eighth Circuit.
    Sept. 4, 1957.
    
      Mortimer A. Rosecan, St. Louis, Mo., for petitioner.
    
    
      1
      Daniel M. Friedman, Atty., Department of Justice, Washington, D.C., for respondent United States of America.
    
    
      2
      Warren E. Baker, Gen. Counsel, Federal Communications Commission, Richard A. Solomon, Asst. Gen. Counsel, Federal Communications Commission, and Daniel R. Ohlbaum, Counsel, Federal Communications Commission, Washington, D.C., for respondent Federal Communications Commission.
    
    
      3
      Latham Castle, Atty. Gen., for State of Illinois.
    
    
      4
      Lon Hocker, St. Louis, Mo., Monroe Oppenheimer, Washington, D.C., James H. Meredith, St. Louis, Mo., Stanley S. Harris, Marcus Cohn, Paul Dobin, James A. McKenna, Jr., Vernon L. Wilkinson, Andrew G. Haley and J. Roger Wollenberg, Washington, D.C., for interveners Louisiana Purchase Company et al.
    
    
      5
      PER CURIAM.
    
    
      6
      Petition for review of order of Federal Communications Commission adopted February 26, 1957, and released March 1, 1957, dismissed, on motion of respondents.
    
    